USCA Case #24-1113   Document #2089360   Filed: 12/12/2024   Page 1 of 15

          ORAL ARGUMENT HELD SEPTEMBER 16, 2024

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                          )
TIKTOK INC.,                              )
                                          )
and                                       )
                                          )
BYTEDANCE LTD.,                           )
                          Petitioners,    )
                                          ) No. 24-1113
     v.                                   ) (consolidated with
                                          ) Nos. 24-1130,
MERRICK B. GARLAND, in his official       ) 24-1183)
capacity as Attorney General of the       )
United States,                            )
                          Respondent.     )
                                          )

PETITIONERS’ REPLY IN SUPPORT OF EMERGENCY MOTION
  FOR INJUNCTION PENDING SUPREME COURT REVIEW
USCA Case #24-1113    Document #2089360        Filed: 12/12/2024   Page 2 of 15



     Even in a typical case, the courts of appeals play an important role

in deciding motions for interim relief pending Supreme Court review.

And this is not a typical case: not only are the speech rights of 170 million

Americans on the line, but this Court is sitting as a trial court, which

means the Supreme Court provides the only layer of appellate review.

     Yet despite these extraordinary circumstances, the Government’s

opposition treats this Court as a mere speedbump on the road to Supreme

Court review. The Government urges the Court to reject Petitioners’

motion simply because it already ruled for the Government on the merits.

But that is not the test. This Court has not hesitated to grant interim

relief to a non-prevailing party, and such relief is especially appropriate

here, where the Supreme Court is likely to grant certiorari (indeed, the

Government never contends otherwise); the Government ignores

Petitioners’ main merits arguments; and the balance of equities weighs

decisively in favor of an injunction.      Petitioners’ motion should be

granted.

     1. This Court’s role. The Government trivializes this Court’s role,

first by asking the Court to summarily deny Petitioners’ motion without

even a response, see 12/9/24 Letter, Doc. #2088549, and now by accusing



                                     1
USCA Case #24-1113     Document #2089360      Filed: 12/12/2024   Page 3 of 15



Petitioners of asking this Court “to pretermit the Supreme Court’s

prerogative,” Opp.11. The Supreme Court, however, generally requires

parties seeking emergency relief to show that “the relief requested was

first sought in the appropriate court or courts below.” Sup. Ct. R. 23(3).

This Court has a similar rule, see Fed. R. App. P. 8(a)(1)-(2); D.C. Cir.

Handbook 33; it expects district courts not to reflexively deny interim

relief just because they already ruled on the merits. Otherwise, “[p]rior

recourse to the initial decisionmaker” would “hardly be required.” Wash.

Metro. Area Transit Comm’n v. Holiday Tours, Inc. (WMATA), 559 F.2d

841, 844 (D.C. Cir. 1977). The Supreme Court likewise expects this Court

to independently decide whether “the equities of the case suggest that

the status quo should be maintained.” Id. at 845. This Court should thus

reject the Government’s efforts to bypass this Court at this critical stage

of the judicial process.1




1 Petitioners’ motion is thus entirely consistent with the jointly proposed

schedule that ensured time “to request emergency relief from the
Supreme Court if necessary.” Joint Motion to Govern Proceedings, Doc.
#2055129, at 8. Requesting emergency relief from the Supreme Court
means following the Supreme Court’s rules, including asking this Court
first. And emergency relief will be “necessary” only if this Court denies
interim relief.

                                     2
USCA Case #24-1113   Document #2089360       Filed: 12/12/2024   Page 4 of 15



     2. The governing standard. The Government also tries to erect

an artificial barrier to interim relief by claiming the merits must be

“indisputably clear.” Opp.11 (quotation omitted). But that is not the

standard. This Court applies the traditional four-factor framework—a

likelihood-of-success standard—on “motion[s] for stay or for emergency

relief.” D.C. Cir. Handbook 33 (emphasis added); see, e.g., Loma Linda-

Inland Consortium for Healthcare Educ. v. NLRB, 2023 WL 7294839, at

*5 (D.C. Cir. May 25, 2023) (per curiam) (applying traditional “likelihood

of success” standard “[i]n determining whether to issue an injunction

pending appeal”); id. at *12 (Rao, J., dissenting) (“injunction pending

appeal” should be granted under that standard). Indeed, the Supreme

Court has faulted courts of appeals for “fail[ing] to grant an injunction

pending appeal” when the applicants were “likely to succeed on the

merits.” E.g., Tandon v. Newsom, 141 S.Ct. 1294, 1296-97 (2021) (per

curiam).

     It is irrelevant that the Supreme Court sometimes applies a

heightened standard to injunction requests. Its rationale in such cases

is that it would be “grant[ing] judicial intervention that has been

withheld by [two] lower courts.” Lux v. Rodrigues, 561 U.S. 1306, 1307



                                    3
USCA Case #24-1113      Document #2089360      Filed: 12/12/2024   Page 5 of 15



(2010) (Roberts, C.J., in chambers) (quotation omitted). That rationale is

inapposite here. This Court is exercising original jurisdiction. As a

result, it will be the first to consider whether interim equitable relief is

warranted. In any event, the Supreme Court has routinely granted

injunctive relief without requiring a heightened merits showing where,

as here, withholding relief would effectively preclude meaningful review.

See, e.g., Tandon, 141 S.Ct. at 1296-97 (COVID restrictions on religious

exercise); Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S.Ct. 63, 66-

68 (2020) (per curiam) (same).

        Nor is there any “strong presumption” against interim relief.

Opp.12. As the Government says, any such presumption “reflects the

presumption of constitutionality” of the underlying statute. Id. (internal

quotation omitted). But this case involves a speech restriction whose

supposed justification “reference[s] the content of TikTok’s speech,”

which led the panel majority to apply strict scrutiny. Op.30. Thus, “the

usual     presumption     of   constitutionality   afforded    congressional

enactments is reversed.” United States v. Playboy Ent. Grp., 529 U.S.

803, 817 (2000). Any corresponding presumption against interim relief

is reversed as well. See Ashcroft v. ACLU, 542 U.S. 656, 670 (2004)



                                      4
USCA Case #24-1113    Document #2089360       Filed: 12/12/2024   Page 6 of 15



(“important practical reasons” to temporarily enjoin Act of Congress

restricting speech “pending a full trial”).

     This Court should thus apply its normal standard for emergency

interim relief. And it should remain mindful that such relief does not

require “a prediction that [the Court] has rendered an erroneous

decision,” where, as here, it has “ruled on an admittedly difficult legal

question” and “the equities of the case suggest that the status quo should

be maintained.” WMATA, 559 F.2d at 844-45.

     3. Likelihood of success on the merits. The Government accuses

Petitioners of reciting “a grab-bag of complaints.” Opp.14. But this

characterization is a transparent effort to avoid addressing Petitioners’

lead arguments and focus instead on cherry-picked “example[s].” Id.

     First, as Petitioners explained, the First Amendment requires the

Government to prove that the less-restrictive alternative of disclosure

would be inadequate to redress its asserted interest in preventing

“covert” content manipulation. See Mot.20-21. The Government does not

devote a single word to responding to this argument.

     Second, Petitioners have also explained how Congress’s purported

data-protection justification is grossly underinclusive. They provided



                                      5
USCA Case #24-1113    Document #2089360        Filed: 12/12/2024   Page 7 of 15



evidence that the Act’s generally applicable provisions exempt

applications with comparable alleged China connections and that collect

comparable data from Americans. Mot.22-23. The Government’s cursory

response is that this Court concluded that the Act could have banned

TikTok “even if the Congress had not included the generally applicable

framework” at all. Opp.15 (quoting Op.56). But that would make the Act

even more underinclusive. The Government completely fails to justify

leaving such “appreciable damage to [its] supposedly vital interest”

unaddressed, which undermines any claim that it was pursuing data

protection as “an interest of the highest order.” Reed v. Town of Gilbert,

576 U.S. 155, 172 (2015) (quotation omitted).

     4. Irreparable harm to Petitioners. Throughout this case, the

Government has not disputed TikTok’s showing of irreparable harm, and

its opposition again fails to address (let alone rebut) Petitioners’ evidence

that they would suffer irreparable harm from even a temporary

imposition of the Act’s prohibitions. App.824-27; Chandlee Decl. ¶ 3.

Nevertheless, the Government asserts for the first time that TikTok will

suffer no immediate harm from the Act taking effect because existing

users may continue to have access to the platform “for at least some



                                     6
USCA Case #24-1113   Document #2089360        Filed: 12/12/2024   Page 8 of 15



time.” Opp.21 n.2. This new argument, which is at odds with an earlier

Government concession, both ignores the loss of new TikTok users and

mischaracterizes the effect of the prohibitions on existing users.

     There is no dispute that, absent an injunction, TikTok will

disappear from mobile app stores on January 19, 2025. TikTok will then

be unavailable to the half of the country that does not already use the

app. That alone is irreparable harm. TikTok Inc. v. Trump, 490 F. Supp.

3d 73, 84 (D.D.C. 2020) (“Barring TikTok from U.S. app stores would, of

course, have the immediate and direct effect of halting the influx of new

users, likely driving those users to alternative platforms and eroding

TikTok’s competitive position.”).

     Petitioners have also provided unrebutted evidence that the

separate prohibition on “[p]roviding internet hosting services to enable

the distribution, maintenance, or updating” of TikTok, Sec. 2(a)(1)(B),

which includes “file hosting, domain name server hosting, cloud hosting,

and virtual private server hosting,” Sec. 2(g)(5), would “prevent us and

our commercial partners from providing the services that enable the

TikTok platform to function, effectively shutting down TikTok in the

United States,” App.825. Though the Government now complains that



                                    7
USCA Case #24-1113   Document #2089360       Filed: 12/12/2024   Page 9 of 15



TikTok “provide[s] no time frame for that [shutdown] to occur,” Opp.21

n.2, the “time frame” is obvious from the record: the “termination” of

hosting services will, on January 19, 2025, “cripple the platform in the

United States and make it totally unusable.” App.826. Not only did the

Government fail to previously contest this evidence, it expressly conceded

“that the deprivation of these services would practically preclude an

application from continuing to be widely offered to American users.”

Gov’t Br. 11.

     5. No harm to the Government. The Government denies that

the 270-day delayed effective date of the Act undermines the

Government’s claim to urgency in banning TikTok. The Government

argues that the 270-day timeframe reflects an attempt to “balance” its

national security interest against a “competing interest[]” in an “orderly

change in ownership.” Opp.19. Even if that were the case, there is

nothing in the record to support the notion that Congress determined

that there was anything special about 270 days. To the contrary, the

unrebutted evidence establishes that the 270-day deadline was arbitrary

and infeasible for its stated purpose. App.686. Moreover, whatever

“balancing” is reflected by the 270-day implementation date, it simply



                                    8
USCA Case #24-1113     Document #2089360     Filed: 12/12/2024   Page 10 of 15



reinforces Petitioners’ argument that there is no compelling urgency in

banning the platform. When there is a truly urgent national security

threat, the political branches promptly respond without “balancing”

national security against orderly ownership changes.             Cf. Roman

Catholic Diocese, 592 U.S. at 17-19 (jurisdiction fatally undermined the

urgency of COVID restrictions on worship services by exempting a wide

variety of businesses for economic reasons unrelated to their COVID

risk).

         6. Public interest. The Government has no answer to Petitioners’

argument that the public interest would be served by a temporary

injunction for two independent reasons: (i) to permit the Supreme Court

to consider this case in a more orderly fashion and (ii) to give the

incoming Administration time to determine its position on this

exceptionally important matter.      Instead, the Government attacks a

straw man: that an “injunction is warranted” solely for these reasons.

Opp.20. To be clear, Petitioners satisfy all the elements of the standard

for a temporary injunction, for the reasons set out in their motion and

this reply, including because the public interest factor favors additional




                                     9
USCA Case #24-1113    Document #2089360      Filed: 12/12/2024   Page 11 of 15



deliberation before a speech platform used by 170 million Americans is

banned.

      7. Timing of certiorari petition. Finally, this Court should

reject the Government’s alternative request (Opp.21-22) that this Court

should order Petitioners to file a cert petition within seven days as a

condition of the injunction. Petitioners have no intention of engaging in

undue delay and intend to file their cert petition within 30 days of this

Court’s entry of a temporary injunction. That would give the Supreme

Court more than sufficient time to decide whether to take the case and,

if so, resolve it this Term. At the Solicitor General’s behest, the Supreme

Court has previously expedited consideration of important cases by

granting cert in February and scheduling briefing and argument during

the same Term. See, e.g., Biden v. Texas, 142 S.Ct. 1098 (2022) (No. 21-

954) (granting certiorari on February 18, 2022 and directing that “[t]he

case will be set for argument in the second week of the April 2022

argument session”); Dep’t of Com. v. New York, 139 S.Ct. 953 (2019)

(No. 18-966) (granting certiorari on February 15, 2019 and directing that

“[t]he case will be set for argument in the second week of the April

argument session”).



                                    10
USCA Case #24-1113   Document #2089360        Filed: 12/12/2024   Page 12 of 15



      If the next Administration wishes to propose that approach to the

Court, it would be able to do so on Petitioners’ proposed schedule.

Importantly, though, filing Petitioners’ cert petition within 30 days

would give the new Administration an opportunity to determine whether

it wishes to do so, by creating time for it to assess its position on this

critical matter.

                              *     *     *

      For the reasons set forth in their motion and above, Petitioners’

emergency motion for an injunction pending Supreme Court review

should be granted.




                                   11
USCA Case #24-1113   Document #2089360     Filed: 12/12/2024   Page 13 of 15



 DATED: December 12, 2024           Respectfully submitted,

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                                   12
USCA Case #24-1113   Document #2089360     Filed: 12/12/2024   Page 14 of 15



                 CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d)(2) because it contains 2,020 words,

excluding any materials exempted by Federal Rule of Appellate

Procedure 27(a)(2)(B).

      This motion complies with the typeface requirements of Federal

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prepared in a proportionally spaced typeface using Microsoft Word for

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                                   13
USCA Case #24-1113   Document #2089360       Filed: 12/12/2024   Page 15 of 15



                     CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the District

of Columbia Circuit by using the appellate CM/ECF system on December

12, 2024.

      I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the appellate CM/ECF

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                                   14
